           Case 1:16-cv-01364-JPO Document 31 Filed 03/09/17 Page 1 of 2
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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ROSEMARIE RICHARDSON,
                                                                    No. 16-CV-01364
                                       Plaintiff,

                 -against-
                                                                 NOTICE OF APPEAL
CARMEN FARINA, KATHERINE G. RODI,
CANDACE R. MCLAREN, MIRIAM M.
BERARDINO, ANNA STEEL, THE NEW YORK
CITY DEPARTMENT OF EDUCTION, THE NEW
YORK CITY BOARD OF EDUCATION AND THE
CITY OF NEW YORK,

                                       Defendants.

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                 TAKE NOTICE that Plaintiff ROSEMARIE RICHARDSON (“Plaintiff”)

hereby appeals to the Court of Appeals, Second Circuit, from each and every part other than the

dismissal of claims against the City of New York, to which Plaintiff consents, of an Opinion and

Order of Hon. J. Paul Oetken, District Judge, United States District Court, Southern District of

New York, dated February 23, 2017, filed February 23, 2017, [ECF Doc. 29], and a Judgment by

the Clerk of the Court, United States District Court, Southern District of New York, filed and

entered February 24, 2017 [ECF Doc. 30] dismissing Rosemarie Richardson’s Complaint filed

February 22, 2016 [ECF Doc. 1].
          Case 1:16-cv-01364-JPO Document 31 Filed 03/09/17 Page 2 of 2



Dated:      New York, New York
            March 9, 2017

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